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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )          8:03CR57
                                          )
             Plaintiff,                   )
                                          )          MEMORANDUM
vs.                                       )          AND ORDER
                                          )
REBEKAH D. TEAGUE,                        )
                                          )
             Defendant.                   )

      On the court’s own motion,

      IT IS ORDERED that Defendant Teague’s sentencing before the undersigned
United States district judge is rescheduled to Friday, May 27, 2005, at 11:00 a.m., in
the Special Proceedings Courtroom, 4th Floor, Roman L. Hruska United States
Courthouse, Omaha, Nebraska. Since this is a criminal case, the defendant shall be
present unless excused by the court.

      DATED this 21st day of April, 2005.

                                              BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
